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              UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF NEW YORK



                                                     Case No.
DARNELL WILLIAMS,
                                             5:22-cv-0067 (GTS/ATB)
                Plaintiff,

    v.

CITY OF SYRACUSE, DETECTIVE
KAITLIN HENDERSON, SERGEANT
ALEX CAZZOLLI, DETECTIVE
MICHAEL SHANNON, and DETECTIVE
CHAD PICOTTE,

                Defendants.




   MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’
                MOTION TO DISMISS
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                             PRELIMINARY STATEMENT


      Plaintiff, Darnell Williams (hereinafter “Plaintiff” or “Williams”), submits

this memorandum of law in opposition to Defendants’ motion for an order

dismissing all of Plaintiff’s state-law claims against Defendant City of Syracuse

(hereinafter “the City”), and Defendants Detective Kaitlin Henderson, Sergeant

Alex Cazzoli, Detective Michael Shannon, and Detective Chad Picotte (hereinafter,

collectively, “the City employees”). Defendants’ motion should be denied in its

entirety, for two reasons.

      First, while Defendants are correct that a plaintiff must appear at a properly

noticed 50-h hearing before commencing a state-law action against a municipality,

the law does not require, and indeed Defendants do not allege that it requires, that

a party attend a 50-h hearing prior to commencing suit against a municipal

employee. Indeed, the law is precisely to the contrary. Accordingly, there is no basis

for dismissal of Plaintiff’s state-law claims against the City employees.

      Second, Plaintiff complied with New York General Municipal Law § 50-h’s

condition precedent to bringing a lawsuit against the City when he appeared and

testified for over three hours at his 50-h hearing as to “the general factual

circumstances underlying his notice of claim.” See Defs.’ Mem. Supp. Dismiss 21,

ECF No. 16-6 (“The purpose of a 50-h Hearing is ‘for a municipal entity to assess

the general factual circumstances underlying a notice of claim before the claimant

ever files a lawsuit.’”) (quoting Bowling v. Nolette, 2021 WL 4134733, at *7

(N.D.N.Y. 2021)). (emphasis added). Plaintiff is not barred from pursuing his state-
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law claims against the City merely because during that lengthy examination he

invoked his Fifth Amendment privilege against self-incrimination with respect to a

single issue that was tangential to his claim.

                            STATEMENT OF FACTS 1

      On July 21, 2021, Plaintiff served a notice of claim against all of the named

Defendants herein, as well as two other employees of the Syracuse Police

Department. See Raju Decl. Ex. B, ECF No. 16-3. On or about August 18, 2021, the

City of Syracuse served Plaintiff with a Demand for Examination “to be orally

examined under oath concerning the claim you have made against the City of

Syracuse.” Id. Ex. C, ECF No. 16-4 (emphasis added). On November 12, 2021,

Plaintiff testified at his 50-h hearing for over three hours, answering questions

posed by the attorney for the City regarding virtually every aspect of the arrest and

prosecution for which he now seeks redress in the instant lawsuit. Claimant

invoked his Fifth Amendment privilege against self-incrimination only with respect

to questions relating to his whereabouts during the actual trial that was held in

connection with the criminal charges initiated against him by Defendants. See

Defs.’ Mem. Supp. Dismiss 16-18, ECF No. 16-6.




1 While Plaintiff strenuously disagrees with Defendants’ characterization of his
lawsuit as “mainly premised on Defendant Officers’ alleged withholding from the
District Attorney that Plaintiff has a ‘deep Southern drawl’ and silver-capped
teeth,” see Defs.’ Mem. Supp. Dismiss 3, Plaintiff will limit his Statement of Facts to
those facts relevant to the issue of Plaintiff’s compliance with General Municipal
Law § 50-h.
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                                      ARGUMENT

       I.     Attendance at a 50-h hearing is not a condition precent to
              bringing a state-law claim against a municipal employee

       As Defendants correctly note, General Municipal Law Section 50-h provides,

in pertinent part, that “‘[w]hen a demand for examination has been served as

provided in subdivision two of this section no action shall be commenced against the

city, county, town, village, fire district or school district against which the claim is

made unless the claimant has duly complied with such demand for examination….’”

See ECF No. 16-6 at 9 (citing General Municipal Law Section 50-h) (emphasis

added). By its plain language, GML 50-h does not require, nor do Defendants allege

that it requires, that a party attend a properly scheduled 50-h hearing as a

condition precedent to bringing a lawsuit against an employee of a “city, county,

town, village, fire district or school district.” Indeed, the law is precisely to the

contrary.

       In Bradley v. Golphin, 2018 U.S. Dist. LEXIS 8245 (E.D.N.Y. 2018), the

court, in denying a motion to dismiss state-law claims against municipal employees,

made clear that, unlike General Municipal Law Section 50-e, which makes service

of a notice of claim upon a municipality a condition precedent to bringing a state-

law claim against the municipality or its employees, General Municipal Law Section

50-h requires a party to attend a properly noticed municipal hearing only prior to

bringing a lawsuit against the municipality; there is no similar requirement for

suing municipal employees.

              Unlike GML § 50-e’s notice-of-claim requirement, § 50-h
              does not refer to claims filed against "officers, appointees

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              and employees" of municipal corporations. See N.Y. Gen.
              Mun. L. § 50-h (referring only to claims filed against "a city,
              county, town, village, fire district, ambulance district or
              school district the city," and not to officers and
              employees); Gilliard v. City of New York, No. 10-CV-5187,
              2013 U.S. Dist. LEXIS 18180, 2013 WL 521529, at *15 n.
              19 (E.D.N.Y. Feb. 11, 2013) (noting that failure to comply
              with § 50-h “precludes only claims against the City, not
              employees who are sued in their individual capacities
              alongside the City”). Defendants’ arguments elide the
              distinction between the claims subject to the requirements
              of § 50-e and those described in § 50-h. In support, they rely
              solely on cases that refer to municipal liability. Maggio v.
              Palmer, 810 F. Supp. 50, 51 (E.D.N.Y. 1993) (“[N]o action
              may be commenced against a municipality unless the
              claimant has duly complied with a timely demand for
              examination.” (emphasis added)); Marino v. Jonke, No. 11-
              CV-430, 2012 U.S. Dist. LEXIS 78661, 2012 WL 1871623,
              at *9-10 (S.D.N.Y. Mar. 30, 2012) (discussing 50-h
              requirements only in the context of municipal
              defendants); Simon v. City of New York, No. 09-CV-1302,
              2011 U.S. Dist. LEXIS 9515, 2011 WL 317975, at *15
              (E.D.N.Y. Jan. 3, 2011), adopted by 2011 U.S. Dist. LEXIS
              9594, 2011 WL 344757 (E.D.N.Y. Feb. 1, 2011) (discussing
              only the requirements of bringing a “state law tort
              claim against a municipality” (emphasis added)).

Id., at *10-11.

       Here, too, while Defendants’ motion ostensibly seeks dismissal of all of

Plaintiff’s state-law claims against “all defendants,” see ECF No. 16-6 at 1, 5, 24,

Defendants cite no law, and indeed make no arguments, in support of dismissal of

any of Plaintiff’s claims against the City employees. All of the cases cited by

Defendants refer to General Municipal Law 50-h’s applicability to municipal

liability. Accordingly, Defendants’ motion, to the extent it seeks dismissal of any of

Plaintiff’s state-law claims against the City employees in their individual capacities,

must be denied.

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      II.    General Municipal Law § 50-h requires only that a claimant
             submit to the municipality’s demand for an examination, a
             condition that Plaintiff has met

      While compliance with a properly noticed General Municipal Law § 50-h

examination is a requirement of commencing suit against a municipality, Plaintiff

has complied with that statute. Section 50-h, which is in derogation of the common

law, is to be strictly construed. In strictly construing a statute, courts will not go

beyond the clearly expressed provisions of the act.” Colon v. Martin, 170 A.D.3d

1109, 1111 (2d Dep’t 2019) (internal quotation marks and citations omitted). GML §

50-h(1) provides, in pertinent part, that

             Where a claim is filed against a municipality, General
             Municipal Law § 50-h confers upon that municipality “the
             right to demand an examination of the claimant relative to
             the occurrence and extent of the injuries or damages for
             which claim is made.” Id. “Where a demand for
             examination has been served…no action shall be
             commenced against the city, county, town, village, fire
             district or school district against which the claim is made
             unless the claimant has duly complied with such demand
             for examination.


Id. (emphasis added). GML § 50-h therefore dictates that it is whether the claimant

submits to the demand for examination, and not whether his answers at the

examination are to the full satisfaction of the municipality, that determines

whether he has satisfied the condition precedent for suit under GML § 50-h. Indeed,

the statute provides only that the claimant may be questioned “relative to the

occurrence and extent of the injuries or damages for which claim is made,” which

has been interpreted to mean that it allows the municipality an opportunity “to

assess the general factual circumstances underlying a notice of claim before the

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claimant ever files a lawsuit.” Bowling v. Nolette, 2021 U.S. Dist. LEXIS 171790, at

*22 (N.D.N.Y. 2021) (emphasis added). The statute certainly does not provide as a

condition precedent to commencing a lawsuit that the claimant answer questions

beyond those he would be required to answer at a full-blown deposition. To the

contrary, Section 50-h is more limited in scope than pretrial discovery, since its

purpose essentially is to give the municipality an opportunity to assess the general

merits of a claim with an eye toward potential early settlement, rather than to

prepare fully for trial:

              It must be noted that the initial hearing to which a
              municipality is entitled pursuant to General Municipal
              Law § 50-h is not designed to duplicate the broad and
              comprehensive method of obtaining disclosure provided for
              in the CPLR. The purpose of the hearing, as a supplement
              to the notice of claim, is to afford the city an opportunity to
              early investigate the circumstances surrounding the
              accident and to explore the merits of the claim, while
              information is readily available, with a view towards
              settlement.

Alouette Fashions, Inc. v. Consol. Edison Co., 119 A.D.2d 481, 487 (1st Dept. 1986).

       Here, Plaintiff went well beyond giving the municipality the “general factual

circumstances” of his claim for the purposes of possible early settlement; for more

than three hours he answered hundreds of questions relative to the occurrence and

extent of his injuries or damages, 2 while refusing to answer only a handful of

questions all related to the singular issue of his whereabouts during the trial of his




2Defendants’ lengthy discussion concerning the purported materiality of questions
related to Plaintiff’s whereabouts during the trial to the issue of damages is
strained, at best.
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criminal case. As such, Plaintiff satisfied the condition precedent under GML § 50-

h.

      III.   The cases that Defendants principally rely upon are
             distinguishable from the case at bar

      Defendants argue that Plaintiff’s invocation of his Fifth Amendment right

against self-incrimination in response to a handful of questions posed to him

invalidates his aforementioned satisfaction of the condition precedent to suit; but

the cases to which they cite in support of this notion are inapposite.

      As an initial matter, “there is no doubt that a witness in any legal proceeding

cannot be required to answer questions which will tend to show that he is guilty of a

crime,” and that such a “privilege applies in civil, as well as criminal cases,”

including “in an examination before trial.” Levine v. Bornstein, 13 Misc. 2d 161, 163

(Sup. Ct., Kings Cnty. 1958) (citing Chappell v. Chappell, 116 A.D. 573 (4th Dep’t

1906) and Bradley v. O’Hare, 2 A.D.2d 436 (1st Dep’t 1956)) (emphasis added); see

Steinbrecher v. Wapnick, 24 N.Y.2d 354, 424 (1969) (“[A]n ordinary witness,

including a party in a civil suit, does not waive his [Fifth Amendment] privilege by

the mere act of testifying.”); see also Baxter v. Palmigiano, 425 U.S. 308, 316 (1976)

(the Fifth Amendment “not only protects the individual against being involuntarily

called as a witness against himself in a criminal prosecution but also privileges him

not to answer official questions put to him in any other proceeding, civil or criminal,

formal or informal, where the answers might incriminate him in future criminal

proceedings.”) (quoting Lefkowitz v. Turley, 414 U.S. 70, 77 (1973) (emphasis

added)).


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      Here, Plaintiff also had a compelling reason for invoking his Fifth

Amendment privilege with respect to his whereabouts during the trial. Indeed,

Defendants’ repeated references to Plaintiff’s absence from the trial as potentially

involving “bail jumping,” see ECF No. 16-6 at 19, 23, suggest that Defendants are of

the view that Plaintiff’s answers to that one area of inquiry might expose him to

criminal charges. See N.Y. Penal Law § 215.57 (failure to “appear personally on the

required date or voluntarily within thirty days thereafter… in connection with a

charge against him of committing a felony” constitutes bail jumping in the second

degree, a class E felony.).

      The cases that Defendants cite in support of their argument that Plaintiff’s

invocation of the Fifth Amendment in response to these questions constitutes a

failure to satisfy the condition precedent for suit under GML § 50-h are inapposite.

In Guadagni v. N.Y.C. Transit Auth., 2009 U.S. Dist. LEXIS 6054 (E.D.N.Y. 2009),

the plaintiff did not appear for any examination whatsoever, and attempted merely

to justify that failure post hoc by claiming that his Fifth Amendment right against

self-incrimination excused his failure to appear. See id., at *15. Noting that “there is

no question that an individual is entitled to invoke the privilege against self-

incrimination during a civil proceeding,” the court ruled that because his failure to

submit to examination did not satisfy the plain requirements of N.Y. Public

Authorities Law § 1212(2) and GML § 50-e, which the plaintiff did not contest, he

could not bring his state tort claim against the Transit Authority. See id., at *16.

Here, Plaintiff submitted to the City’s demand for examination, and in so doing



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complied with exactly that requirement of GML § 50 that the Guadagni court found

was fatal to the plaintiff’s claim.

       In Di Pompo v. City of Beacon Police Dep’t, 153 A.D.3d 597 (2d Dep’t 2017),

another case in which the plaintiff had criminal charges pending against him, the

plaintiff did appear at his examination, but refused to answer certain questions. See

id. at 598. Unlike here, however, the plaintiff in Di Pompo did not expressly invoke

his Fifth Amendment right against self-incrimination, and the court found that his

failure to properly assert that right disqualified him from asserting that right. See

id. Moreover, the court did not hold that the proper invocation of one’s Fifth

Amendment right against self-incrimination during a 50-h hearing constitutes a

failure to satisfy the condition precedent for suit per se; to the contrary, it held that

the refusal to answer on Fifth Amendment grounds merely shifted the onus onto the

plaintiff to reschedule his hearing once his pending criminal matter ended:

              Even if the plaintiff had properly asserted his privilege, he
              was obligated to schedule a new General Municipal Law
              § 50-h examination after his criminal case ended, but he
              failed to do so.


Id. (citing Kemp v. County of Suffolk, 61 A.D.3d 937, 938 (2d Dep’t 2009) (holding

that the burden to adjourn the hearing transfers from the municipality onto the

claimant in such a scenario)).

       Here, unlike in both Guadagni and Di Pompo, Plaintiff’s invocation of his

Fifth Amendment right against self-incrimination was not related to a pending

criminal matter, but instead to circumstances that occurred in April 2021, and for

which the criminal charges to which Defendants refer (“bail jumping”) potentially

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could be filed as late as April 2026. See N.Y. Crim. Proc. Law § 30.10(2)(b) (“A

prosecution for any other felony must be commenced within five years after the

commission thereof.”). To the extent that the running of that criminal statute of

limitations might constitute the “point” at which the burden to schedule a new

hearing would shift onto Plaintiff, the civil statute of limitations for Plaintiff’s state-

law claims would have long since expired. See N.Y. Gen. Mun. Law § 50-i (1)(c)

(providing that “the action or special proceeding [against the municipality] shall be

commenced within one year and ninety days after the happening of the event upon

which the claim is based.”)

       The remainder of Defendants’ authorities are dicta or irrelevant to the facts

in this case. Defendants cite no other case for the proposition that properly invoking

one’s Fifth Amendment right against self-incrimination during an examination

pursuant to GML § 50-h invalidates an otherwise proper satisfaction of the

condition precedent for suit.

       IV.    Defendants seek the wrong remedy

       Defendants accuse Plaintiff of attempting to use the Fifth Amendment as

both shield and sword. In reality, Defendants, ostensibly unsatisfied with the

breadth of Plaintiff’s testimony at the hearing, seek to use GML § 50-h as both a

shield and sword. The enactment of General Municipal Law § 50-h was meant to

afford the municipality an opportunity to investigate the notice of claim and

determine the merits of the claim before the initiation of litigation, and thereby

forestall unnecessary lawsuits. See Mem. of The Joint Legis. Comm. on Municipal

Tort Liability, Bill Jacket, L. 1958, ch. 393 at 13. Defendants’ detailed recitation of
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the facts of this case in both of their motions to dismiss suggests that they are quite

familiar with the underlying occurrences, at least enough so to have determined

whether the case is frivolous or not worth litigating. See ECF No. 9-2 at 2-3; ECF

No. 16-6 at 6-7. It therefore strains credulity that Defendants “are left scratching

their heads,” id. at 20, based on Plaintiff’s invocation of his Fifth Amendment right

only with respect to the issue of his whereabouts during the criminal trial.

      Put simply, Plaintiff has satisfied the condition precedent for suit based on

the express requirements and purpose of GML § 50-h, and he violated no law or

statute when he properly exercised a constitutional right to which he is entitled.

Still Defendants maintain that there are only three possible remedies at this stage:

further amendment of the complaint, an indefinite stay, or dismissal. See ECF

No. 16-6 at 22. In so arguing, they ignore what seems not only to be the most

practical, but also the most appropriate remedy: to continue litigation and

discovery. If Defendants consider the information that might hypothetically have

been gathered were Plaintiff to have answered the questions at issue during the 50-

h hearing absolutely crucial to their defense, they may easily re-ask those questions

at a deposition. Perhaps that need would be obviated by discovery prior to

examination. If Plaintiff were to continue to invoke his Fifth Amendment

privilege—and, in Defendants’ estimation, deprive them of or hinder their defense of

this lawsuit—Defendants would be entitled to move for appropriate sanctions. See,

e.g., Access Capital v. DeCicco, 302 A.D.2d 48, 55 (1st Dep’t 2002) (“The law is clear

that adverse inferences may be drawn against a defendant who invokes the [Fifth



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Amendment] privilege in a civil case.”). After all, Plaintiff still must prove his case.

See id. (“The privilege does not relieve the party of the usual evidentiary burden

attendant upon a civil proceeding; nor does it afford any protection against the

consequences of failing to submit competent evidence.”).

      With Plaintiff having satisfied the condition precedent to suit under GML

§ 50-h, and with Defendants’ having received more than enough information to

satisfy the requirements and purpose of GML § 50-h, the appropriate remedy is not

dismissal, but discovery.

                                    CONCLUSION

      For the reasons stated herein, Defendants’ motion to dismiss should be

denied.

Dated: New York, New York
       May 17, 2022


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